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                 EXHIBIT 16
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                                 #:52031



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 13    Masimo Corporation and Cercacor Laboratories, Inc.
 14
 15                     IN THE UNITED STATES DISTRICT COURT

 16                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

 17                                SOUTHERN DIVISION

 18
       MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
 19    a Delaware corporation; and            )
       CERCACOR LABORATORIES, INC.,           ) PLAINTIFFS MASIMO
 20    a Delaware corporation                 ) CORPORATION AND
                                              ) CERCACOR LABORATORIES,
 21                Plaintiffs,                ) INC.’S SIXTH SET OF REQUESTS
                                              ) FOR PRODUCTION OF
 22          v.                               ) DOCUMENTS TO DEFENDANT
                                              ) APPLE INC. (NOS. 249-256)
 23    APPLE INC., a California corporation   )
                                              )
 24                                           ) Hon. James V. Selna
                   Defendant.                 ) Magistrate Judge John D. Early
 25                                           )
                                              )
 26
 27
 28

                                                                           Exhibit 16
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   1               d.     the date of the information or document.
   2         3.    If You are aware of the existence, past or present, of a requested
   3   document or thing, but the document or thing is not in Your possession,
   4   custody, or control, then so state in Your response to the request for that
   5   document or thing. Identify such document or thing and identify, by name, title,
   6   and address, the person who last maintained possession, custody, or control of
   7   the document or thing. If the requested document or thing no longer exists, then
   8   Your response should state when, how, and why this is the case.
   9         4.    Produce each requested document or thing along with all non-
 10    identical drafts thereof. Furthermore, produce each document in its entirety,
 11    without abbreviation or redaction.
 12          5.    Identify specifically the derivation and source of each document
 13    and thing to be produced.
 14                          REQUESTS FOR PRODUCTION
 15    REQUEST FOR PRODUCTION NO. 249:
 16          All documents and things related to decisions to research, design, and/or
 17    develop products or components used to calculate one or more physiological
 18    parameters including but not limited to pulse oximetry.
 19    REQUEST FOR PRODUCTION NO. 250:
 20          All documents and things related to decisions to research, design, and/or
 21    develop any Apple wrist worn monitor that performs pulse oximetry and/or any
 22    component of any Apple wrist worn monitor that performs pulse oximetry.
 23    REQUEST FOR PRODUCTION NO. 251:
 24          An inspection of any Apple product that calculates one or more
 25    physiological parameters including but not limited to pulse oximetry, including
 26    without limitation, prior and future planned versions and prototypes.
 27
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                                              -4-
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   1   REQUEST FOR PRODUCTION NO. 252:
   2         An inspection of any Apple wrist worn monitor that performs pulse
   3   oximetry, including without limitation, prior and future planned versions and
   4   prototypes.
   5   REQUEST FOR PRODUCTION NO. 253:
   6         All trial and deposition transcripts of testimony by any current or former
   7   Apple employee in any litigation or legal proceeding, related to calculating one
   8   or more physiological parameters including but not limited to pulse oximetry.
   9   REQUEST FOR PRODUCTION NO. 254:
 10          All trial and deposition transcripts of testimony by any named inventor of
 11    any of the Disputed Patents.
 12    REQUEST FOR PRODUCTION NO. 255:
 13          All communications between an Apple employee or Apple representative,
 14    including Apple’s inhouse or outside counsel, and any employee of Plaintiffs
 15    while the employee was employed by Plaintiffs.
 16    REQUEST FOR PRODUCTION NO. 256:
 17          All business reports related to anticipated or actual profitability by
 18    product or business unit, related to Apple Watch Products.
 19
 20                                   KNOBBE, MARTENS, OLSON & BEAR, LLP
 21
 22    Dated: March 3, 2021           By: /s/ Mark D. Kachner
                                          Joseph R. Re
 23                                       Stephen C. Jensen
                                          Perry D. Oldham
 24                                       Stephen W. Larson
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 27                                       Cercacor Laboratories, Inc.
 28
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